                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Lynchburg Division

  ELMO AUGUSTUS REID,                          )
                                               )
         Plaintiff                             )
                                               )
  v.                                           )       Civil Action No. 7:16-cv-00547
                                               )
  MARK AMONETTE, et al.                        )
                                               )
         Defendants.                           )
                                               )

                             JOINT STIPULATION OF DISMISSAL

         IT IS HEREBY STIPULATED AND AGREED, by and between the Parties, that all

  Defendants in this matter shall be dismissed with prejudice pursuant to Rule 41(a)(1)(A)(ii) of the

  Federal Rules of Civil Procedure. The Court shall retain jurisdiction of this matter for the sole

  purpose of enforcing the settlement agreement dated August 7, 2018. Any party may petition the

  Court to enforce the settlement agreement.

         Date: August 17, 2018.

                                                       MARK AMONETTE, MD
                                                       BERNARD BOOKER
                                                       PAMELA SHIPP
                                                       STEVE HERRICK

                                                          /s/ Elizabeth M. Muldowney
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                                           Counsel for Plaintiff




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on August 17, 2018, I electronically filed the foregoing with the Clerk

  of the Court under the CM/ECF system, which will then send a notification of such filing (NEF) to

  all counsel of record.



                                                          /s/ Elizabeth M. Muldowney
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